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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                               Eastern Division

Maxwell Little, et al.
                                      Plaintiff,
v.                                                     Case No.: 1:18−cv−06954
                                                       Honorable Virginia M. Kendall
JB Pritzker for Governor, et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 4, 2020:


        MINUTE entry before the Honorable Virginia M. Kendall. Motion hearing held on
3/4/2020. The Court addressed Plaintiffs' Discovery motions [84] and [85]. Plaintiffs
raised only part of Motion to Compel [84] before the Court. The Court grants in part and
denies in part Motion to Compel [84] regarding the issues raised. The Court will not
require Mr. Fulks' Defendants' 30(b)(6) deponent, to sit for a second 30(b)(6) deposition.
The Court will allow Plaintiffs to propound four new interrogatories on the 30(b)(6)
deponent. Plaintiffs are ordered to take the deposition of Caitlin Pharo by 3/16/20 via
video conference. The Court grants Plaintiffs' Motion to extend Fact Discovery [85]. The
extension is limited to Discovery that is the subject of currently pending motions. End of
Fact Discovery is extended and ordered closed by 3/27/20. End of Fact Discovery Status
hearing reset for 3/30/20 at 9:00 AM. Any remaining motions pertaining to discovery,
including any matters remaining in Motion to Compel [84] should be raised with
Magistrate Judge Cummings as he is supervising Discovery in this matter. (See Dkt. [78],
[79].) Defendants are ordered to refile their Motion for Sanctions with supplemental
information within three weeks of the close of Fact Discovery, by 4/17/20. Mailed
notice(lk, )




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